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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                          COLUMBUS DIVISION

 __________________________________
                                    )
                                    )
 UNITED STATES OF AMERICA,          )
                                    ) No.: 4:20-CR-032-CDL-MSH
    v.                              )
                                    )
 KRISTINA PARKER, ET AL.            )
                                    )
           Defendant.               )
 __________________________________ )

                                           ORDER

       Having read and considered the Joint Motion to Continue Trial in the Interests of

Justice, and for good cause shown, the Court hereby GRANTS the Joint Motion.

       It is hereby ORDERED that the above-captioned matter is continued to the March

2022 trial term and that the Parties shall have until the 17th day of January 2022 to file pretrial

motions.

       Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B), the Court finds that the ends of justice

served by granting the Joint Motion outweigh the public’s and Defendants’ interest in a

speedy trial. Accordingly, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) and (B), excludable time

is allowed from September 29, 2021, through and including February 28, 2022.

       SO ORDERED, this 29th day of September, 2021.


                                             S/Clay D. Land
                                             THE HONORABLE CLAY D. LAND
                                             JUDGE, U.S. DISTRICT COURT
